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                          UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

JOHN PORZONDEK,

        Plaintiff,                                      Docket No. 1:16-CV-00777
-vs-                                                    HON. JANET T. NEFF
                                                        MAG. JUDGE ELLEN S. CARMODY
CITY OF SAUGATUCK, a Michigan
Municipal corporation; SAUGATUCK
HISTORIC DISTRICT COMMISSION;
KIRK HARRIER, City of Saugatuck City
Manager, sued in his official and individual
Capacities; VIC BELLA, Chair of the Saugatuck
Historic District Commission,

        Defendants.
_____________________________________________________________________________________________________/

                                    JOINT NOTICE OF STATUS

        Pursuant to the Court’s Order dated June 23, 2017, the parties, through undersigned

counsel request until August 31, 2017 to present closing papers to the Court, or

alternatively to inform the Court of the status of settlement negotiations. The parties have

reached an agreement in principal that will be presented to the City of Saugatuck City

Council for approval in August 2017. The parties anticipate the City Council will approve

the proposed settlement. However, if the City Council does not approve the proposed

settlement the parties will inform the Court of the reason and the status of additional

negotiations.

        The parties therefore request the Court allow them until August 31, 2017 to present

closing papers to the Court or alternatively to inform the Court of the status of settlement

negotiations.
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Dated: July 31, 2017          SHERIDAN HADDOCK, PLLC


                                   By:____/s/Michael P. Haddock__________
                                          Michael P. Haddock (P55880)
                                          Attorney for Plaintiff



Dated: July 31, 2017          PLUNKETT COONEY


                                   By:__/s/Michael S. Bogren______________
                                          Michael S. Bogren (P34835)
                                          Attorney for Defendants


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